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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF COLORADO

In re: Judith Jean Schneider,       )
                                    ) Case No. 17-11810-MER
      Debtor.                       )
                                    ) Chapter 13
                                    )
______________________________________________________________________________
                CHAPTER 13 SHORT FORM FEE APPLICATION
______________________________________________________________________________

                                           SUMMARY

        Pursuant to 11 U.S.C. § 330, Applicant, Michael Watton, attorney for the debtor, requests
allowance of the following fees and reimbursement of out-of-pocket expenses incurred for all
reasonably necessary and appropriate services rendered and to be rendered during the pendency
of the entire case as follows:

   1. TOTAL FEES REQUESTED in this application: $4,100.00
   2. TOTAL EXPENSES REQUESTED in this application: $0.00
                                (Total Fees and Expenses Requested) = $4,100.00
   3. AMOUNT PAID TO DATE (exclusive of the filing fee): $20.00
   4. NET AMOUNT OF FEES AND EXPENSES TO BE PAID THROUGH CONFIRMED
       PLAN NOT TO EXCEED AMOUNT FUNDED BY THE PLAN: = $4,080.00

                                DETAIL IN SUPPORT OF FEE REQUEST

                                              1. FEES

Amount of fee Applicant agreed to with Debtor(s) for performing services to represent the debtor
in this case: (amount disclosed in 2016(b) disclosure): $4,100.00
              (amount disclosed in amended 2016(b) disclosure): $

A. This agreed upon fee represents (check applicable boxes):
       [X] a flat fee for all services in the case
       [ ] hourly charges based upon time spent.
       [ ] other fee arrangement based upon________________.

B. Applicant’s rate for attorney services is $_______/ hour; the rate for associate attorney
services is $_______/ hour; and the rate for paralegal services is $_______/ hour.
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                                         2. EXPENSES

Amount of expenses incurred:
       copies (at    /copy)         $
Postage                             $
Other (specify):                    $       , agreed upon pre-confirmation flat expense rate.
Facsimile                           $
Legal Research                      $

                            Total: $ 0.00

                        APPLICANT’S CERTIFICATIONS
                 IN SUPPORT OF SHORT FORM FEE APPLICATION

APPLICANT CERTIFIES/ATTESTS THAT:

   1. I have performed and will continue to perform all reasonably necessary and appropriate
      services during the pendency of the entire case consistent with L.B.R. 9010-1.
   2. I am requesting a fee for services rendered and to be rendered which does not exceed the
      presumptively reasonable fee amount referenced in L.R.R. 2016-3 and listed in the
      applicable Chapter 13 General Procedure Order, as amended from time to time. I
      acknowledge that any payment of fees in excess of the presumptively reasonably fee
      requires additional application and approval by the court.
   3. The foregoing is true and accurate.

Dated: September 29, 2017


                                            WATTON LAW GROUP


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